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11
                                     UNITED STATES DISTRICT COURT
12
                 EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION
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14
     UNITED STATES OF AMERICA, ex rel.                  Case No. 2:15 CV 07799 KJM DB
15   DENIKA TERRY and ROY HUSKEY III,
     and each of them for themselves individually,      PLAINTIFFS’ REPLY BRIEF IN
16   and for all other persons similarly situated and   SUPPORT OF THEIR MOTION FOR
     on behalf of the UNITED STATES OF                  CLASS CERTIFICATION
17   AMERICA,
                                                        CLASS ACTION
18            Plaintiffs/Relators,
                                                        Date:         October 20, 2017
19   vs.                                                Time:         10:00 a.m.
                                                        Judge:        Kimberly J. Mueller
20   WASATCH ADVANTAGE GROUP, LLC,                      Dept.:        Courtroom 3, 15th Floor
     WASATCH PROPERTY MANAGEMENT,
21   INC., WASATCH POOL HOLDINGS,
     LLC, CHESAPEAKE COMMONS
22   HOLDINGS, LLC, LOGAN PARK
     APARTMENTS, LLC, LOGAN PARK
23   APARTMENTS, LP, and DOES 1-30,
24            Defendants.
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 1   I.   INTRODUCTION
 2        Defendants’ opposition is in large part unresponsive to Plaintiffs’ class certification motion.
 3   Defendants fail to address, let alone challenge, Plaintiffs’ theory of liability or the case law in
 4   support of certification, and cite scarcely any case law in support of their opposing arguments.
 5        First and foremost, Defendants ignore Plaintiffs’ chosen theory of classwide liability: that
 6   Defendants’ policy of charging side payments beyond the contract rent breaches Section 8
 7   tenants’ lease agreements and violates the CLRA and UCL, because Defendants treat these
 8   additional charges as rent, as shown by their standard forms and policies. Plaintiffs allege that
 9   the extra charges constitute “rent,” in violation of clear federal law that landlords cannot charge
10   Section 8 tenants any rent beyond the contract rent. Notably, this is the same theory of liability
11   alleged and addressed in the numerous federal decisions concerning similar extra charges, as
12   this Court highlighted in its order on the motion to dismiss.
13        Instead of responding to Plaintiffs’ allegations and case law showing the predominance of
14   common issues, Defendants create a straw man theory of liability to knock down. Defendants
15   pretend that Plaintiffs ask the Court to look at HUD regulations concerning “rent
16   reasonableness” for any particular unit, and whether items are customarily included in the
17   contract rent in the locality. Although Defendants’ extra charges could violate these HUD
18   regulations, Plaintiffs do not seek classwide certification on these grounds. Plaintiffs’ classwide
19   theory focuses solely on the illegality of the extra charges as additional “rent.”1
20        Second, Defendants do not challenge numerosity or adequacy of counsel, but raise a host of
21   unpersuasive arguments concerning ascertainability, typicality, adequacy, and superiority. As to
22   ascertainability, Defendants ignore the clear, objective class definition in the proposed Third
23   Amended Complaint (“TAC”) and moving papers: Section 8 tenants at Defendants’ California
24   properties who have paid additional charges during a specific time period. As to typicality and
25   adequacy requirements, Defendants misleadingly question the class representatives’ credibility,
26   and rely on legally irrelevant, purported differences between them and the proposed class.
          1
27         Defendants claim that Plaintiffs “abandon[] the class claims under the [FCA].” Opp. at
     1:15–16. As Plaintiffs explain, the FCA claim cannot be certified, as it is brought on behalf of the
28   government. ECF No. 72, Pls.’ Memo. of P. & A. In Supp. of Mot. (“Mot.”) at 1:17–19.
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 1   Finally, citing to no authority and pointing to no administrative process to exhaust or pursue,
 2   Defendants incorrectly claim that such an option would be superior to a class action.
 3        In short, Defendants’ opposition flies wide of Plaintiffs’ arguments supporting class
 4   certification, leaving them almost entirely unchallenged. Plaintiffs have met all certification
 5   requirements under Rule 23(b)(2) and (b)(3). The proposed classes should be certified.
 6   II. THE TAC SHOULD BE OPERATIVE FOR CLASS CERTIFICATION
 7        Defendants ignore the proposed TAC, which defines the classes to include Section 8 tenants
 8   at Defendants’ properties throughout California. Defendants do so despite the liberal standard for
 9   amendment, and the lack of any prejudice following Court-ordered, geographically expansive
10   discovery during a class discovery period that has just closed, as explained in more detail in
11   Plaintiffs’ concurrently filed reply brief in support of their motion to amend.
12        Courts regularly certify broader classes than the class definition in the complaint where, as
13   here, there is no prejudice to the defendant. In Stuart v. RadioShack Corp., 2009 U.S. Dist.
14   LEXIS 12337 (N.D. Cal. Feb. 5, 2009), for example, the plaintiff sought leave to amend to
15   expand the scope of the class and certify the broader class. Id. at *4. The court granted plaintiff’s
16   motion to amend, even though it was filed after defendant filed its opposition to class certification
17   based on the narrower definition. The court found no prejudice because defendant would likely
18   have raised the same arguments in opposing the broader class definition. Id. at *8; see also Van
19   Patten v. Vertical Fitness Grp., LLC, No. 12cv1614-LAB (MDD), 2013 U.S. Dist. LEXIS
20   189845, at *10–11 (S.D. Cal. Nov. 8, 2013) (using definition in class certification motion even
21   though it was not in operative complaint; defendant’s “core argument against class certification . .
22   . still addresses th[e] definition head-on”); In re TFT-LCD Antitrust Litig., 267 F.R.D. 583, 591
23   (N.D. Cal. 2010) (using new definition in the class certification motion where there was no
24   prejudice to defendants, no additional discovery was required, and the modifications were minor).
25        Here, there is no prejudice both for the reason provided in these decisions—i.e., Defendants
26   would likely raise the same arguments against certification of the class as defined in the TAC—
27   and because Plaintiffs filed their motion to amend concurrent with their class certification motion,
28   such that Defendants had every opportunity to address the expanded class definition in their
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 1   opposition. The only material difference between the definitions is that the new one includes
 2   Defendants’ properties throughout California—not just Sacramento—to conform to the evidence
 3   recently obtained in discovery.2 There are no new claims. Defendants offer no explanation of
 4   how adding materially identical class members from other California properties would change
 5   their defense to class certification, or why after months of geographically expanded discovery,
 6   they chose not to address the geographically expanded class definition. Accordingly, the Court
 7   should treat the TAC as the operative complaint for class certification.
 8   III. THE COURT SHOULD GRANT CLASS CERTIFICATION AS REQUESTED
 9        A.    The Classes Are Ascertainable
10        Defendants incorrectly argue that the class definition “is so overbroad” that the class is
11   unascertainable. The ascertainable requirement “is meant to ensure the proposed class definition
12   will allow the court to efficiently and objectively ascertain whether a particular person is a class
13   member.” Pena v. Taylor Farms Pac., Inc., 305 F.R.D. 197, 206 (E.D. Cal. 2015).
14        Defendants appear to challenge as overbroad only the phrase “additional rent payments” in
15   the SAC’s class definition. Opp. at 19:6–20:11. To the extent that the term “rent” arguably
16   rendered the definition unclear, see Luviano v. Multi Cable, Inc., No. CV 15-05592 BRO (FFM),
17   2017 U.S. Dist. LEXIS 32349, at *34 (C.D. Cal. Jan. 3, 2017) (“quasi-legal conclusion” in class
18   definition raised ascertainability concerns), Plaintiffs clarified it by changing the definition in the
19   TAC to: Section 8 tenants who have paid “additional charges” set forth in Additional Services
20   Agreements. Proposed class members are therefore readily determined from Defendants’ records.
21   The Court could also modify the definition to address any lingering concern. See id. at *34–35
22   (sua sponte modifying class definition); Morales, 2015 U.S. Dist. LEXIS 177918, at *38 (same).
23        B.    Common Questions of Fact and Law Predominate
24              1.    Plaintiffs’ Theory of Liability Controls
25        Defendants ignore Plaintiffs’ theory of liability, claiming that there must be “a unit by unit,
26
          2
            The new definition helpfully clarifies that the proposed class consists of Section 8 tenants
27   who have paid “additional charges” set forth in Additional Services Agreements, rather than
     “additional rent payments.” There is also a shorter limitations period in the modified definition.
28   The six-year statute is for the FCA claim which, as noted, is not subject to class certification.
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 1   property by property, and area by area analysis that must take into consideration the relative
 2   housing market conditions during the relevant time period.” Opp. at 2:3–5. They discuss
 3   variability in the reasonable rent for a particular unit across localities, and items customarily
 4   included in the contract rent in a locality that might not be included in another. Id. at 10:10–20.
 5        Plaintiffs, however, do not challenge these issues or the HUD regulations governing them.
 6   The class certification analysis focuses on Plaintiffs’—not Defendants’—“chosen theory of
 7   liability.” Ruiz Torres v. Mercer Canyons Inc., 835 F.3d 1125, 1137 (9th Cir. 2016); see also
 8   Californians for Disability Rights, Inc. v. Cal. DOT, 249 F.R.D. 334, 344–45 (N.D. Cal. 2008)
 9   (rejecting defendants’ argument that there were “highly individualized” issues and thus no
10   commonality, because it “misconstrue[d] the nature of plaintiffs’ claims and requested relief”).
11   Plaintiffs’ classwide theory is that the extra charges set forth in the Additional Services
12   Agreements constitute additional “rent,” in violation of clear HUD regulations that landlords
13   cannot charge any rent beyond that specified in the HAP Contracts.
14           Based on this theory of liability, numerous courts have addressed the legality of similar
15   extra charges, as this Court has noted, ECF No. 61 at 6:21-7:3, without any market or rent
16   reasonableness analysis. Mot. at 12:25–28 (citing cases). Further, courts have certified classes of
17   Section 8 tenants under similar circumstances. See Nozzi v. Hous. Auth. of L.A., No. CV 07-380
18   PA (FFMx), 2016 U.S. Dist. LEXIS 62996 (C.D. Cal. May 6, 2016); Huynh v. Harasz, No. 14-
19   CV-02367-LHK, 2015 U.S. Dist. LEXIS 154078 (N.D. Cal. Nov. 12, 2015).
20           Plaintiffs’ theory is that the additional charges constitute rent because of Defendants’
21   common policy of treating such charges as rent, and failure to pay those charges as grounds for
22   eviction, as shown in their standard forms. Mot. at 4:21–6:28. Defendants’ claim that there is no
23   classwide proof that tenants are “forced” to incur additional charges, Opp. at 13:21–22, ignores
24   the common evidence that while some additional charges are presented as optional, Defendants
25   treat them as rent uniformly across their properties once the tenant incurs the charges. Thus,
26   Defendants’ claim that Plaintiff Huskey “sign[ed] up . . . voluntarily” for additional charges, Opp.
27   at 15:10–11, is irrelevant to Plaintiffs’ theory of liability. Mot. at 7:1–23.
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 1              2.    Common Issues Predominate for the Breach of Contract Claim
 2        Defendants’ only argument that there are no common issues of law or fact for the breach of
 3   contract claim is based on their impermissible reframing of Plaintiffs’ theory of liability. Given
 4   Plaintiffs’ theory of liability, common factual and legal issues clearly predominate as to whether
 5   the additional charges constitute rent in violation of the lease agreements. Mot. at 12:18–13:20.
 6   Defendants do not dispute that they use form contracts treating the extra charges as rent and
 7   failure to pay those charges as grounds for eviction, and they ignore that “‘courts routinely certify
 8   class actions regarding breaches of form contracts.’” Id. at 14:7–14 (citing cases).
 9        Moreover, Defendants raise common defenses. They claim that: additional charges are not
10   prohibited by HUD regulations or the HAP Contracts; that such charges are legal if approved by
11   the local public housing agencies; and, relatedly, that the Court should defer to these local
12   agencies’ interpretation of federal law. Opp. at 8:16–17, 18:17–19. These common defenses
13   support class resolution. See, e.g., Van Patten, 2013 U.S. Dist. LEXIS 189845, at *16–17
14   (defendant is “either right or wrong, as a matter of law” on their defense, and “‘all class members
15   will prevail or lose together, making this another common issue to the class’” (citation omitted));
16   Mot. at 14:4–6 (citing cases explaining that common defenses support class certification).
17              3.    Common Issues Predominate for the CLRA Claim
18        Plaintiffs rely on subdivision (a)(14) of the CLRA, Cal. Civ. Code § 1770, which prohibits
19   Defendants from misrepresenting that they may collect payment for charges that they are legally
20   prohibited from charging. Defendants ignore this statutory ground for liability, as well as the
21   cases supporting Plaintiffs’ theory. Mot. at 15:6–26. Just like here, in Nelson v. Pearson Ford
22   Co., 186 Cal.App.4th 983, the court held that defendant was liable to a class under § 1770(a)(14)
23   because it “misrepresent[ed] an obligation that was prohibited by law.” Id. at 1022–23.
24        Defendants also ignore the cases showing that causation can be determined classwide. An
25   objective standard applies to determine whether Defendants’ misrepresentation that tenants must
26   pay the additional charges has in fact caused them to pay the charges. As the Ninth Circuit has
27   explained, if a material misrepresentation is made to the class, a classwide inference of reliance
28   arises. Courts therefore “‘often find predominance satisfied in CLRA cases.’” Mot. at 16:1–16.
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 1        Defendants cite Caro v. Procter & Gamble Co., 18 Cal.App.4th 644 (1993), for the
 2   proposition that a “single determination of materiality is not possible here.” Opp. at 13:10–11.
 3   But Caro does not “undermine[] the general rule permitting common reliance where material
 4   misstatements have been made to a class of plaintiffs. Rather, . . . Caro merely stands for the
 5   self-evident proposition that such an inference will not arise where the record will not permit it.”
 6   Mass. Mut. Life Ins. Co. v. Superior Court, 97 Cal. App. 4th 1282, 1294 (2002). In Caro, the
 7   record showed that plaintiff did not believe the alleged misrepresentation that “Citrus Hill Fresh
 8   Choice” orange juice was “fresh” juice, and that materiality varied by customer. 18 Cal. App. 4th
 9   at 668. This is a far cry from a property owner’s misrepresentation that tenants must pay for
10   charges beyond their rent. No tenant, particularly a low-income tenant, would make additional
11   payments if he or she believed the owner was prohibited from imposing such charges.
12              4.    Common Issues Predominate for the UCL Claim
13        Defendants ignore the unlawful prong of the UCL altogether. Mot. at 16:25–17:23. That
14   prong does not require a showing of materiality. Compare Friedman v. AARP, Inc., 855 F.3d
15   1047, 1052 (9th Cir. 2017) (addressing unlawful prong), with id. at 1055 (addressing the two
16   other prongs); see also Birdsong v. Apple, Inc., 590 F.3d 955, 959 (9th Cir. 2009) (“[e]ach prong
17   of the UCL is a separate and distinct theory of liability”). As to the unfair and fraudulent prongs,
18   Defendants ignore Plaintiffs’ discussion of Friedman, which addressed circumstances similar to
19   those here in reversing a lower court’s dismissal of a putative class action. Mot. at 18:3–9.
20        C.    Plaintiffs’ Claims Are Typical, and They Will Adequately Represent the Class
21        Defendants do not dispute that Plaintiffs’ claims are typical because they are “reasonably
22   coextensive” with those of the proposed class. Mot. at 9:23–10:16. Instead, they argue that
23   Plaintiffs fail to meet the typicality requirement on the ground that they are subject to unique
24   defenses because they were evicted. Opp. at 14:20–15:23. But the circumstances of Plaintiffs’
25   departures (whether by eviction or not) are not legal defenses to the claims in this lawsuit, which
26   concern Defendants’ unlawful additional charges while Plaintiffs were tenants. O’Connor v.
27   Uber Techs., No. C-13-3826 EMC, 2015 U.S. Dist. LEXIS 116482, at *33 (N.D. Cal. Sep. 1,
28   2015) (typicality does not concern “legally irrelevant differences between the representative
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 1   plaintiffs and the class members”). In fact, Terry’s eviction for unpaid additional charges
 2   supports the class claims; it reflects Defendants’ policy of treating such additional charges as rent
 3   by using nonpayment as grounds for eviction. Contrary to Defendants’ assertion that Terry was
 4   evicted for unpaid rent but not unpaid charges, Opp. at 15:2–3, their own evidence shows that she
 5   was evicted for not paying contract rent and additional services. Terry Dec., ¶ 6, Ex. B (reflecting
 6   $310.25 due on February 4, 2013 for contract rent and unpaid additional charges); Opp., Tanforan
 7   Dec. ¶¶ 19-21 & Ex. 3 (three-day notice to pay rent or quit, demanding $310.25 in unpaid rent).
 8        Nor is there any merit to Defendants’ assertion that Terry’s claims are subject to res judicata
 9   because she was evicted following settlement in a judicial proceeding. Unlawful detainer actions
10   are summary proceedings involving only the right to possession, and thus a final judgment has
11   preclusive effect only as to that right. See, e.g., Thomas v. Hous. Auth. of L.A., No. CV 04-6970
12   MMM (RCx), 2005 U.S. Dist. LEXIS 46427, at *18–19, 21–22 (C.D. Cal. June 2, 2005).
13        Defendants also attempt to defeat typicality by relying on tangential credibility issues, which
14   are usually analyzed under the adequacy inquiry. It is only “[i]n rare circumstances” that “a
15   plaintiff’s lack of credibility may undermine his or her adequacy as a class representative.”
16   Mendez v. R+L Carriers, Inc., No. C 11-2478 CW, 2012 U.S. Dist. LEXIS 165221, at *39 (N.D.
17   Cal. Nov. 19, 2012); see also In re Facebook Privacy Litig., No. 10-cv-02389-RMW, 2016 U.S.
18   Dist. LEXIS 119293, at *17 (N.D. Cal. June 28, 2016). “There is ‘inadequacy only where the
19   representative’s credibility is questioned on issues directly relevant to the litigation or there are
20   confirmed examples of dishonesty, such as a criminal conviction for fraud.’” Harris v. Vector
21   Mktg. Corp., 753 F.Supp.2d 996, 1015 (N.D. Cal. 2010) (emphasis added).
22        Defendants’ challenges are not “directly relevant to the litigation,” nor “confirmed examples
23   of dishonesty.” Id. Defendants claim that Terry lied by testifying that she was charged for
24   parking despite not having a car, when she did have a car. The deposition testimony—which
25   followed repeated, unfocused questioning on this issue by Defendants—is unclear as to when
26   Terry owned a car, kept a car at the property, and relied on her mother’s car. Regardless,
27   Plaintiffs’ theory is that the additional charges are unlawful irrespective of how they are imposed.
28   Thus, Defendants’ strained argument as to car ownership does not undermine Terry’s adequacy.
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 1   Similarly, Defendants’ accusation that proposed class representative Huskey made racial slurs is
 2   not directly relevant to the litigation. See id. Further, contrary to Defendant’s contention,
 3   Huskey’s denial of this accusation by a defense witness does not constitute a lie, let alone a
 4   disqualifying one.3 Moreover, courts do not disqualify class representatives for credibility issues
 5   where, as here, most of the evidence will come from defendants’ documents rather than plaintiff’s
 6   testimony. See In re Facebook Privacy Litig., 2016 U.S. Dist. LEXIS 119293, at *18.
 7        Defendants also suggest that Terry is unfamiliar with the class claims. Opp. at 3:9–12.
 8   Terry meets the “‘low’” threshold of knowledge to be a class representative. Johnson v. Hartford
 9   Cas. Ins. Co., No. 15-cv-04138-WHO, 2017 U.S. Dist. LEXIS 77482, at *38 (N.D. Cal. May 22,
10   2017) (citations omitted). She testified that she understands the lawsuit involves “extra fees”
11   beyond rent, that she “was charged with things that she shouldn’t have been charged for,” and that
12   she represents others experiencing similar problems. Lavine Supp. Dec., ¶2, Ex. A, at 44:17–
13   46:12, 201:22–202:13. See Johnson, at *39 (the class representative need only “be able explain
14   the factual basis for the lawsuit and why he believes he was wronged,” and need not have read the
15   complaint). Terry’s testimony shows that she understands the factual basis for the lawsuit, and
16   therefore is a suitable representative. Indeed, the higher standard suggested by Defendants is
17   particularly inappropriate for a class of Section 8 tenants, who receive subsidized housing as a
18   result of disabilities and ongoing financial and emotional hardships. Lavine Dec., ¶7.
19        Finally, if the Court were to determine that neither Plaintiff is an adequate class
20   representative or that their claims are not typical, Plaintiffs respectfully request leave to substitute
21   new representatives. See Luviano, Inc., 2017 U.S. Dist. LEXIS 32349, at *50-51 (“[T]he Court
22   does not find Plaintiff Luviano’s inadequacy renders the representation as a whole inadequate; an
23   inadequate representative plaintiff may be replaced.” (citations omitted)). Plaintiffs have already
24   requested permission to do so for the Rule 23(b)(2) class.
25        D.    A Class Action Is Superior to Other Methods of Adjudication
26        Defendants do not dispute that the first three superiority factors weigh in favor of class
27
          3
            Defendants also claim that Huskey was evicted for racist conduct, but the three-day notice
28   refers only to loud music and noises at night. Opp., Smith Dec., Ex. 6.
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 1   certification. Mot. at 18:14–19:3. They dispute the fourth factor—“the likely difficulties in
 2   managing the class action”—and argue that an “informal” administrative solution is superior.
 3   The Court should reject both arguments.
 4              1.    Liability Can Be Determined Classwide, and Individual Damages
                      Determinations Do Not Defeat Class Certification
 5
          Defendants incorrectly claim that litigation will require mini-trials for liability and damages.
 6
     Opp. at 16:2–3. To the contrary, a class action is appropriate as to liability for the reasons stated
 7
     above, and Defendants ignore clear law that the need for individual damages calculations does not
 8
     defeat certification. Mot. at 14:15–18, 16:21–23; see also Huynh, 2015 U.S. Dist. LEXIS
 9
     154078, at *5 (rejecting defendants’ similar arguments and certifying a class of Section 8 tenants
10
     because “the Ninth Circuit has unequivocally held that . . . ‘the presence of individualized
11
     damages cannot, by itself, defeat class certification under Rule 23(b)(3)’” (citation omitted)).
12
          Citing Valentino v. Carter-Wallace, Inc., 97 F.3d 1227 (9th Cir. 1996), Defendants also
13
     claim that Plaintiffs are required to present a trial plan. Opp. at 16:13–15 & n.6. But “Valentino
14
     does not stand for th[e] proposition” that a trial plan is required, and “[n]othing in the Advisory
15
     Committee Notes [to Rule 23] suggests grafting a requirement for a trial plan onto the rule.”
16
     Chamberlan v. Ford Motor Co., 402 F.3d 952, 961 n.4 (9th Cir. 2005). Moreover, Defendants
17
     ignore Plaintiffs’ explanation that they will use common evidence to establish liability, and that
18
     damages can be determined by applying a common methodology using Defendants’ own written
19
     records. Mot. at 12:10–11, 14:18–27. Plaintiffs will submit a proposed trial structure to assist
20
     the Court with its trial management duties should the Court later request one.
21
                2.    There Is No Administrative Alternative or Exhaustion Requirement
22
          According to Defendants, Plaintiffs have “not exhausted administrative remedies” with local
23
     public housing agencies. Opp. at 18:26–27. However, they cite no authority for an exhaustion
24
     requirement, point to no available administrative procedures, and admit that resolution with local
25
     agencies is only “informal[].” Id. at 2:10–12. In fact, the Tenancy Addendum expressly confers
26
     the right to sue: “The tenant shall have the right to enforce the tenancy addendum against the
27
     owner.” Lavine Dec., Ex. A at 9, ¶2(b). Moreover, as this Court has recognized, federal courts
28
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 1   routinely address whether additional charges constitute illegal rent. ECF No. 61 at 6:21–7:3.
 2        Defendants nevertheless assert that “the superior method for resolving” the dispute is with
 3   the local housing agencies, but they rely on inapplicable cases that address formal administrative
 4   remedies with a federal agency, and where most, if not all, class members had suffered no injury.
 5   Opp. at 16:18–21 & n.7. By contrast here, most tenants have paid additional charges, and local
 6   public housing agencies have established no formal administrative channel for tenants to employ,
 7   let alone exhaust. Further, even if there were any administrative process, it would not be superior
 8   to a class action. See Huynh, 2015 U.S. Dist. LEXIS 154078, *37–38 (rejecting argument that an
 9   available administrative process to address Section 8 tenants’ disability claims was superior to a
10   class action, because low-income tenants lack the resources to go through the process).
11        Defendants also claim that local public housing agencies’ interpretation of federal law is
12   entitled to deference. Opp. at 17:12–18:16. This argument shows another common defense
13   amenable to class treatment, even though it is likely to fail given that local agencies would not be
14   entitled to deference in interpreting HUD regulations. Defendants rely only on decisions in which
15   courts defer to a federal agency’s interpretation of federal law, where expertise is presumed.
16        E.    Conditional Certification Should Be Granted Under Rule 23(b)(2)
17        Contrary to Defendants’ assertion, Plaintiffs seek class certification under Rule 23(b)(2)
18   “[i]n addition to class certification under Rule 23(b)(3),” not in the alternative. Notice of Mot. &
19   Mot. at 19:23–25, 20:13–17 (emphasis added). “[I]t is appropriate for the Court to certify one
20   class for injunctive relief under Rule 23(b)(2) and a separate class for other remedies under Rule
21   23(b)(3).” Nozzi, 2016 U.S. Dist. LEXIS 62996, at *14 (citing cases).
22        Finally, Defendants argue that Plaintiffs lack standing to represent the Rule 23(b)(2) class for
23   injunctive and declaratory relief. Plaintiffs acknowledge that they have moved from Defendants’
24   properties, and thus have requested certification conditioned on naming a current tenant to
25   represent the class. Mot. at 20:8–11.
26   IV. CONCLUSION
27        For the foregoing reasons and the reasons set forth in the moving papers, Plaintiffs
28   respectfully request that the Court grant their motion for class certification.
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 3                                          Respectfully submitted,
 4                                          LAW OFFICES OF ANDREW WOLFF, P.C.
 5                                          /s/
     Date: September 15, 2017               DAVID LAVINE
 6                                          Attorneys for Plaintiffs Denika Terry and Roy Huskey III
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